Case 2:23-cv-09430-SVW-PD       Document 89-2   Filed 11/04/24   Page 1 of 16 Page ID
                                       #:1366



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  14
     Attorneys for PLAINTIFF
  15 ROBERT HUNTER BIDEN
  16                         UNITED STATES DISTRICT COURT
  17                       CENTRAL DISTRICT OF CALIFORNIA
  18                                 WESTERN DIVISION
  19 ROBERT HUNTER BIDEN, an                     Case No. 2:23-cv-09430-SVW-PD
     individual,
  20                                             DECLARATION OF ZACHARY C.
                 Plaintiff,                      HANSEN IN SUPPORT OF HIS
  21                                             OPPOSITION TO DEFENDANT
           vs.                                   PATRICK M. BYRNE’S MOTION
  22                                             FOR SUMMARY JUDGMENT
     PATRICK M. BYRNE, an individual,
  23                                             [Memorandum of Points and Authorities
                 Defendant.                      in Opposition and Response To
  24                                             Defendant Patrick Byrne’s Statement Of
                                                 Uncontroverted Facts In Support Of His
  25                                             Motion For Summary Judgment Or, In
                                                 The Alternative, Summary Adjudication;
  26                                             and Plaintiff’s Separate Statement Of
                                                 Controverted Facts filed and served
  27                                             concurrently herewith]
  28
       5792010.1
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD     Document 89-2   Filed 11/04/24   Page 2 of 16 Page ID
                                     #:1367



   1                                              Date: November 25, 2024
                                                  Time: 1:30 P.M.
   2                                              Place: Ctrm. 10A
   3                                              Judge: Hon. Hon. Stephen V. Wilson
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       5792010.1                              2
          DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF HIS OPPOSITION TO DEFENDANT
                      PATRICK M. BYRNE’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD            Document 89-2    Filed 11/04/24     Page 3 of 16 Page ID
                                            #:1368



   1                         DECLARATION OF ZACHARY C. HANSEN
   2               I, Zachary C. Hansen, declare and state as follows:
   3               1.    I am counsel of record for Plaintiff Robert Hunter Biden (“Plaintiff”) in
   4 the above-entitled action and am over the age of 18. I hereby submit this declaration
   5 in support of Plaintiff’s Opposition To Defendant Patrick M. Byrne’s (“Defendant”)
   6 Motion For Summary Judgment. If called as a witness, I would and could testify to
   7 the matters contained herein.
   8               2.    Attached hereto as Exhibit “1” is a true and correct copy of relevant
   9 pages from Defendant’s verified Further Responses to Plaintiff’s Requests for
  10 Admissions (Set One), dated September 19, 2024, which were served on Plaintiff’s
  11 counsel’s office by Defendant’s counsel of record.
  12               3.    Attached hereto as Exhibit “2” is a true and correct copy of Issue 1 of
  13 Capitol Times Magazine, which was published on June 27, 2023, which was obtained
  14 by Plaintiff’s counsel’s office from publicly available sources, and which was
  15 produced in discovery by Plaintiff and bates labeled as RHB00001-RHB00099.
  16 Furthermore, Defendant in his verified Further Responses to Plaintiff’s Requests for
  17 Admissions (Set One) to Nos. 1, 2, 8, 14, dated September 19, 2024 admitted that he
  18 made the statements about Plaintiff contained in that issue that are the subject of this
  19 Action.
  20               4.    Attached hereto as Exhibit “3” is a true and correct copy of a screenshot
  21 I obtained of Defendant’s post on his publicly available Telegram account dated
  22 March 20, 2022, and which was produced in discovery by Plaintiff and bates labeled
  23 as RHB00695.
  24               5.    Attached hereto as Exhibit “4” is a true and correct copy of a screenshot
  25 I obtained of Defendant’s post on his publicly available Telegram account dated April
  26 7, 2022, and which was produced in discovery by Plaintiff and bates labeled as
  27 RHB00696.
  28 ///
       5792010.1                                      1
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD     Document 89-2     Filed 11/04/24   Page 4 of 16 Page ID
                                     #:1369



   1        6.    Attached hereto as Exhibit “5” is a true and correct copy of a screenshot
   2 I obtained of Defendant’s post on his publicly available Telegram account dated
   3 October 20, 2022, and which was produced in discovery by Plaintiff and bates labeled
   4 as RHB00697.
   5        7.    Attached hereto as Exhibit “6” is a true and correct copy of a screenshot
   6 I obtained of Defendant’s post on his publicly available Telegram account dated
   7 December 12, 2022, and which was produced in discovery by Plaintiff and bates
   8 labeled as RHB00698.
   9        8.    Attached hereto as Exhibit “7” is a true and correct copy of a screenshot
  10 I obtained of Defendant’s post on his publicly available X (formerly known as
  11 Twitter) account dated February 10, 2023, and which was produced in discovery by
  12 Plaintiff and bates labeled as RHB00699.
  13        9.    Attached hereto as Exhibit “8” is a true and correct copy of a screenshot
  14 I obtained of Defendant’s post on his publicly available X (formerly known as
  15 Twitter) account dated February 12, 2023, including associated comments, and which
  16 was produced in discovery by Plaintiff and bates labeled as RHB00700.
  17        10.   Attached hereto as Exhibit “9” is a true and correct copy of a screenshot
  18 I obtained of Defendant’s post on his publicly available X (formerly known as
  19 Twitter) account dated February 24, 2023, and which was produced in discovery by
  20 Plaintiff and bates labeled as RHB00701.
  21        11.   Attached hereto as Exhibit “10” is a true and correct copy of a
  22 screenshot I obtained of Defendant’s post on his publicly available X (formerly
  23 known as Twitter) account dated March 17, 2023, including associated comments,
  24 and which was produced in discovery by Plaintiff and bates labeled as RHB00702.
  25        12.   Attached hereto as Exhibit “11” is a true and correct copy of a
  26 screenshot I obtained of Defendant’s post on his publicly available X (formerly
  27 known as Twitter) account dated March 28, 2023, and which was produced in
  28 discovery by Plaintiff and bates labeled as RHB00110.
     5792010.1                                  2
          DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2    Filed 11/04/24   Page 5 of 16 Page ID
                                           #:1370



   1               13.   Attached hereto as Exhibit “12” is a true and correct copy of a
   2 screenshot I obtained of Defendant’s post on his publicly available X (formerly
   3 known as Twitter) account dated May 12, 2023, and which was produced in discovery
   4 by Plaintiff and bates labeled as RHB00101.
   5               14.   Attached hereto as Exhibit “13” is a true and correct copy of a
   6 screenshot I obtained of Defendant’s post on his publicly available Telegram account
   7 dated June 24, 2023, and which was produced in discovery by Plaintiff and bates
   8 labeled as RHB00703.
   9               15.   Attached hereto as Exhibit “14” is a true and correct copy of a
  10 screenshot I obtained of a publicly available video file of the May 10, 2023 episode
  11 of The Absolute Truth with Emerald Robinson with the caption “Patrick Byrne Drops
  12 Bombshell            Allegations    Regarding       Hunter   Biden    and    Iran”    from
  13 https://rumble.com/v2nal20-patrick-byrne-drops-bombshell-allegations-regarding-
  14 hunter-biden-and-iran.html?e9s=rel_v1_b, and which was produced in discovery by
  15 Plaintiff and bates labeled as RHB00186.
  16               16.   Attached hereto as Exhibit “15” is a true and correct copy of a
  17 screenshot I obtained of a publicly available video file of the May 11, 2023 episode
  18 of The Absolute Truth with Emerald Robinson from https://rumble.com/v2n9tpy-the-
  19 absolute-truth-with-emerald-robinson-may-11-2023.html, and which was produced
  20 in discovery by Plaintiff and bates labeled as RHB00187.
  21               17.   Attached hereto as Exhibit “16” are true and correct copies of relevant
  22 portions of a transcript of the publicly available May 11, 2023 episode of The Absolute
  23 Truth with Emerald Robinson, which was prepared at my direction by Plaintiff’s
  24 counsel’s office, and which was produced in discovery by Plaintiff and bates labeled
  25 as RHB00711-RHB00715.                I have reviewed the transcript and listened to the
  26 foregoing episode and confirm that the transcript is accurate.
  27 ///
  28 ///
       5792010.1                                     3
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2    Filed 11/04/24   Page 6 of 16 Page ID
                                           #:1371



   1               18.   Attached hereto as Exhibit “17” are true and correct copies of multiple
   2 screenshots I obtained of Defendant’s post on his publicly available X (formerly
   3 known as Twitter) account dated May 12, 2023, including associated comments, and
   4 which were produced in discovery by Plaintiff and bates labeled as RHB00102-
   5 RHB00103, RHB00112-RHB00117.
   6               19.   Attached hereto as Exhibit “18” is a true and correct copy of a
   7 screenshot I obtained of Defendant’s post on his publicly available Telegram account
   8 dated June 27, 2023, and which was produced in discovery by Plaintiff and bates
   9 labeled as RHB00152.
  10               20.   Attached hereto as Exhibit “19” is a true and correct copy of a
  11 screenshot I obtained of Defendant’s post on his publicly available Telegram account
  12 dated June 27, 2023, and which was produced in discovery by Plaintiff and bates
  13 labeled as RHB00153.
  14               21.   Attached hereto as Exhibit “20” is a true and correct copy of a
  15 screenshot I obtained of Defendant’s post on his publicly available Telegram account
  16 dated June 28, 2023, and which was produced in discovery by Plaintiff and bates
  17 labeled as RHB00157.
  18               22.   Attached hereto as Exhibit “21” are true and correct copies of multiple
  19 screenshots I obtained of Defendant’s post on his publicly available X (formerly
  20 known as Twitter) account dated June 29, 2023, including associated comments, and
  21 which was produced in discovery by Plaintiff and bates labeled as RHB00105-
  22 RHB00106.
  23               23.   Attached hereto as Exhibit “22” is a true and correct copy of a
  24 screenshot I obtained of Defendant’s posts on his publicly available Telegram account
  25 dated July 4, 2023, and which was produced in discovery by Plaintiff and bates
  26 labeled as RHB00156.
  27 ///
  28 ///
       5792010.1                                     4
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2    Filed 11/04/24   Page 7 of 16 Page ID
                                           #:1372



   1               24.   Attached hereto as Exhibit “23” is a true and correct copy of a
   2 screenshot I obtained of Defendant’s posts on his publicly available Telegram account
   3 dated July 5, 2023, and which was produced in discovery by Plaintiff and bates
   4 labeled as RHB00161.
   5               25.   Attached hereto as Exhibit “24” is a true and correct copy of a
   6 screenshot I obtained of Defendant’s posts on his publicly available Telegram account
   7 dated July 6, 2023, and which was produced in discovery by Plaintiff and bates
   8 labeled as RHB00162.
   9               26.   Attached hereto as Exhibit “25” is a true and correct copy of a
  10 screenshot I obtained of Defendant’s posts on his publicly available Telegram account
  11 dated July 22, 2023, and which was produced in discovery by Plaintiff and bates
  12 labeled as RHB00167.
  13               27.   Attached hereto as Exhibit “26” is a true and correct copy of a
  14 screenshot I obtained of Defendant’s posts on his publicly available Telegram account
  15 dated July 28, 2023, and which was produced in discovery by Plaintiff and bates
  16 labeled as RHB00168.
  17               28.   Attached hereto as Exhibit “27” is a true and correct copy of a
  18 screenshot I obtained of a publicly available video file of the July 21, 2023 episode
  19 of The Alex Jones Show from https://rumble.com/v3236py-white-house-witness-
  20 patrick-byrne-friday-full-show-072123.html, and which was produced in discovery
  21 by Plaintiff and bates labeled as RHB00185.
  22               29.   Attached hereto as Exhibit “28” are true and correct copies of relevant
  23 portions of a transcript of the publicly available July 21, 2023 episode of The Alex
  24 Jones Show, which was prepared at my direction by Plaintiff’s counsel’s office, and
  25 which was produced in discovery by Plaintiff and bates labeled as RHB00722,
  26 RHB00743-RHB00749, RHB00756, RHB00765-RHB00767, RHB00770. I have
  27 reviewed the transcript and listened to the foregoing episode and confirm that the
  28 transcript is accurate.
       5792010.1                                     5
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD            Document 89-2   Filed 11/04/24   Page 8 of 16 Page ID
                                            #:1373



   1               30.   Attached hereto as Exhibit “29” is a true and correct copy of a
   2 screenshot I obtained of Defendant’s post on his publicly available Telegram account
   3 dated July 21, 2023, and which was produced in discovery by Plaintiff and bates
   4 labeled as RHB00164.
   5               31.   Attached hereto as Exhibit “30” is a true and correct copy of a
   6 screenshot I obtained of a publicly available video file of the September 8, 2023
   7 episode of The Courtenay Turner Podcast titled “Episode 305: Behind the Testimony
   8 of        ‘America’s       #1    Domestic     Extremist    w/    Patrick   Byrne”     from
   9 https://courtenayturner.com/ep-305-behind-the-testimony-of-americas-1-domestic-
  10 extremist-w-patrick-byrne/, and which was produced in discovery by Plaintiff and
  11 bates labeled as RHB00184.
  12               32.   Attached hereto as Exhibit “31” are true and correct copies of relevant
  13 portions of a transcript of the publicly available September 8, 2023 episode of The
  14 Courtenay Turner Podcast titled “Episode 305: Behind the Testimony of ‘America’s
  15 #1 Domestic Extremist w/ Patrick Byrne”, which was prepared at my direction by
  16 Plaintiff’s counsel’s office, and which was produced in discovery by Plaintiff and
  17 bates labeled as RHB00790-RHB00793, RHB00804-RHB00809, RHB00814,
  18 RHB00817-RHB00818, RHB00846. I have reviewed the transcript and listened to
  19 the foregoing episode and confirm that the transcript is accurate.
  20               33.   Attached hereto as Exhibit “32” is a true and correct copy of a
  21 screenshot I obtained of Defendant’s post on his publicly available Telegram account
  22 dated September 17, 2023, and which was produced in discovery by Plaintiff and
  23 bates labeled as RHB00169.
  24               34.   Attached hereto as Exhibit “33” is a true and correct copy of a
  25 screenshot I obtained of Defendant’s post on his publicly available X (formerly
  26 known as Twitter) account dated October 8, 2023, and which was produced in
  27 discovery by Plaintiff and bates labeled as RHB00147.
  28 ///
       5792010.1                                     6
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD             Document 89-2    Filed 11/04/24   Page 9 of 16 Page ID
                                             #:1374



   1               35.     Attached hereto as Exhibit “34” is a true and correct copy of a
   2 screenshot I obtained of Defendant’s post on his publicly available X (formerly
   3 known as Twitter) account dated October 8, 2023, and which was produced in
   4 discovery by Plaintiff and bates labeled as RHB00146.
   5               36.     Attached hereto as Exhibit “35” is a true and correct copy of a
   6 screenshot I obtained of Defendant’s post on his publicly available X (formerly
   7 known as Twitter) account dated October 17, 2023, including associated comments
   8 and which was produced in discovery by Plaintiff and bates labeled as RHB00141.
   9               37.     Attached hereto as Exhibit “36” is a true and correct copy of a
  10 screenshot I obtained of Defendant’s post on his publicly available X (formerly
  11 known as Twitter) account dated October 17, 2023, and which was produced in
  12 discovery by Plaintiff and bates labeled as RHB00148.
  13               38.     Attached hereto as Exhibit “37” are true and correct copies of multiple
  14 screenshots I obtained of Defendant’s post on his publicly available X (formerly
  15 known as Twitter) account dated November 9, 2023, including associated comments
  16 and which were produced in discovery by Plaintiff and bates labeled as RHB00120,
  17 RHB00123-RHB00124.
  18               39.     Attached hereto as Exhibit “38” is a true and correct copy of a
  19 screenshot I obtained of a publicly available video file of the November 13, 2023
  20 episode of The StoneZONE with Roger Stone with the caption “Sued by Hunter Biden
  21 Former              Overstock   CEO     Patrick   Byrne   Enters   the   StoneZone”     from
  22 https://rumble.com/v3viewv-sued-by-hunter-biden-former-overstock-ceo-patrick-
  23 byrne-joins-roger-stone-i.html,           and which was produced in discovery by Plaintiff
  24 and bates labeled as RHB00183.
  25 ///
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  27 ///
  28 ///
       5792010.1                                       7
             DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2 Filed 11/04/24     Page 10 of 16 Page
                                         ID #:1375



  1               40.   Attached hereto as Exhibit “39” are true and correct copies of relevant
  2 portions of a transcript of the publicly available November 13, 2023 episode of The
  3 StoneZONE with Roger Stone, which was prepared at my direction by Plaintiff’s
  4 counsel’s office, and which was produced in discovery by Plaintiff and bates labeled
  5 as RHB00847-RHB00864.                I have reviewed the transcript and listened to the
  6 foregoing episode and confirm that the transcript is accurate.
  7               41.   Attached hereto as Exhibit “40” are true and correct copies of multiple
  8 screenshots I obtained of Defendant’s post on his publicly available X (formerly
  9 known as Twitter) account dated November 13, 2023, including associated comments
 10 and which were produced in discovery by Plaintiff and bates labeled as RHB00108,
 11 RHB00131-RHB00132.
 12               42.   Attached hereto as Exhibit “41” is a true and correct copy of a
 13 screenshot I obtained from Amazon.com of Defendant’s book “Danger Close:
 14 Domestic Extremist #1 Comes Clean” for sale and which was produced in discovery
 15 by Plaintiff and bates labeled as RHB00709. I purchased Defendant’s book “Danger
 16 Close: Domestic Extremist #1 Comes Clean” from Amazon.com and can confirm
 17 based on my personal review of this book, that the same defamatory statements that
 18 Defendant published in the June 27, 2023 Capitol Times Magazine article about
 19 Plaintiff, and which form the basis of this lawsuit, are also contained in Defendant’s
 20 book “Danger Close: Domestic Extremist #1 Comes Clean”.
 21               43.   Attached hereto as Exhibit “42” is a true and correct copy of a
 22 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 23 known as Twitter) account dated April 25, 2024, and which was produced in
 24 discovery by Plaintiff and bates labeled as RHB00107.
 25               44.   Attached hereto as Exhibit “43” is a true and correct copy of a
 26 screenshot I obtained of Defendant’s post on his publicly available Truth Social
 27 account dated February 13, 2024, and which was produced in discovery by Plaintiff
 28 and bates labeled as RHB00170.
      5792010.1                                     8
            DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD         Document 89-2 Filed 11/04/24   Page 11 of 16 Page
                                       ID #:1376



  1               45.   Attached hereto as Exhibit “44” is a true and correct copy of a
  2 screenshot I obtained of Defendant’s post on his publicly available X Truth Social
  3 account dated February 22, 2024, and which was produced in discovery by Plaintiff
  4 and bates labeled as RHB00172.
  5               46.   Attached hereto as Exhibit “45” is a true and correct copy of a
  6 screenshot I obtained of Defendant’s post on his publicly available Truth Social
  7 account from 2024 (exact date unknown), and which was produced in discovery by
  8 Plaintiff and bates labeled as RHB00174.
  9               47.   Attached hereto as Exhibit “46” is a true and correct copy of a
 10 screenshot I obtained of Defendant’s post on his publicly available Truth Social
 11 account from 2024 (exact date unknown), and which was produced in discovery by
 12 Plaintiff and bates labeled as RHB00176.
 13               48.   Attached hereto as Exhibit “47” is a true and correct copy of a
 14 screenshot I obtained of Defendant’s post on his publicly available Truth Social
 15 account from 2024 (exact date unknown), and which was produced in discovery by
 16 Plaintiff and bates labeled as RHB00177.
 17               49.   Attached hereto as Exhibit “48” is a true and correct copy of a
 18 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 19 known as Twitter) account dated July 22, 2024, including associated comments and
 20 which was produced in discovery by Plaintiff and bates labeled as RHB00138.
 21               50.   Attached hereto as Exhibit “49” is a true and correct copy of a
 22 screenshot I obtained of Defendant’s post on his publicly available Telegram account
 23 dated June 5, 2024, and which was produced in discovery by Plaintiff and bates
 24 labeled as RHB00704.
 25               51.   Attached hereto as Exhibit “50” is a true and correct copy of a
 26 screenshot I obtained of Defendant’s post on his publicly available Telegram account
 27 dated October 7, 2024, and which was produced in discovery by Plaintiff and bates
 28 labeled as RHB00705.
      5792010.1                                  9
            DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2 Filed 11/04/24       Page 12 of 16 Page
                                         ID #:1377



  1               52.   Attached hereto as Exhibit “51” is a true and correct copy of relevant
  2 pages from Defendant’s verified Further Responses to Plaintiff’s Interrogatories (Set
  3 One), dated August 6, 2024, which were served on Plaintiff’s counsel’s office by
  4 Defendant’s counsel of record.
  5               53.   Attached hereto as Exhibit “52” is a true and correct copy of relevant
  6 pages from Defendant’s Further Responses to Plaintiff’s Requests for the Production
  7 of Documents (Set One), dated September 17, 2024, which were served on Plaintiff’s
  8 counsel’s office by Defendant’s counsel of record.
  9               54.   Attached hereto as Exhibit “53” is a true and correct copy of a portion
 10 of Defendant’s document production bates labeled “Byrne_000001-Byrne_000003”
 11 that was served on Plaintiff’s counsel office by Defendant’s counsel of record, and
 12 which Defendant claims is the signed and notarized Affidavit of John Moynihan dated
 13 April 1, 2024. Because Defendant designated this exhibit as confidential under the
 14 Protective Order (Dkt #63), this is being filed in redacted form in the version filed
 15 with the Court’s ECF system, but an unredacted copy is being provided to the Court
 16 via email and submission of the paper copy.
 17               55.   Attached hereto as Exhibit “54” is a true and correct copy of a transcript
 18 prepared at my direction by Plaintiff’s counsel’s office of the audio recording
 19 produced by Defendant in discovery titled “HIGHLY CONFIDENTIAL – AUDIO-
 20 2021-08-15-10-07-25”. I have reviewed the transcript and listened to the foregoing
 21 recording and confirm that the transcript is accurate. Because Defendant designated
 22 this exhibit as confidential under the Protective Order (Dkt #63), this is being filed in
 23 redacted form in the version filed with the Court’s ECF system, but an unredacted
 24 copy is being provided to the Court via email and submission of the paper copy.
 25 ///
 26 ///
 27 ///
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      5792010.1                                      10
            DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2 Filed 11/04/24       Page 13 of 16 Page
                                         ID #:1378



  1               56.   Attached hereto as Exhibit “55” is a true and correct copy of a transcript
  2 prepared at my direction by Plaintiff’s counsel’s office of the audio recording
  3 produced by Defendant in discovery titled “HIGHLY CONFIDENTIAL – AUDIO-
  4 2021-08-24-08-46-17”. I have reviewed the transcript and listened to the foregoing
  5 recording and confirm that the transcript is accurate. Because Defendant designated
  6 this exhibit as confidential under the Protective Order (Dkt #63), this is being filed in
  7 redacted form in the version filed with the Court’s ECF system, but an unredacted
  8 copy is being provided to the Court via email and submission of the paper copy.
  9               57.   Attached hereto as Exhibit “56” is a true and correct copy of a transcript
 10 prepared at my direction by Plaintiff’s counsel’s office of the audio recording
 11 produced by Defendant in discovery titled “HIGHLY CONFIDENTIAL – AUDIO-
 12 2021-08-24-14-43-38”. I have reviewed the transcript and listened to the foregoing
 13 recording and confirm that the transcript is accurate. Because Defendant designated
 14 this exhibit as confidential under the Protective Order (Dkt #63), this is being filed in
 15 redacted form in the version filed with the Court’s ECF system, but an unredacted
 16 copy is being provided to the Court via email and submission of the paper copy.
 17               58.   Attached hereto as Exhibit “57” is a true and correct copy of relevant
 18 portions of the Confidential certified transcript of Plaintiff’s deposition that occurred
 19 on August 16, 2024. Because Defendant designated this exhibit as confidential under
 20 the Protective Order (Dkt #63), this is being filed in redacted form in the version filed
 21 with the Court’s ECF system, but an unredacted copy is being provided to the Court
 22 via email and submission of the paper copy.
 23               59.   Attached hereto as Exhibit “58” is a true and correct copy of a
 24 screenshot I obtained from Amazon.com of Defendant’s book “The Deep Rig: How
 25 Election Fraud Cost Donald J. Trump the White House, By a Man Who did not Vote
 26 for Him: (or what to send friends who ask, “Why do you doubt the integrity of the
 27 Election 2020?”)” for sale and which was produced in discovery by Plaintiff and bates
 28 labeled as RHB00710.
      5792010.1                                      11
            DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD    Document 89-2 Filed 11/04/24    Page 14 of 16 Page
                                  ID #:1379



  1        60.   Attached hereto as Exhibit “59” is a true and correct copy of a
  2 screenshot I obtained of Defendant’s post on his publicly available X (formerly
  3 known as Twitter) account dated April 17, 2023, and which was produced in
  4 discovery by Plaintiff and bates labeled as RHB00716.
  5        61.   Attached hereto as Exhibit “60” is a true and correct copy of a
  6 screenshot I obtained of Defendant’s post on his publicly available X (formerly
  7 known as Twitter) account dated April 8, 2024, and which was produced in discovery
  8 by Plaintiff and bates labeled as RHB00717.
  9        62.   Attached hereto as Exhibit “61” is a true and correct copy of a
 10 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 11 known as Twitter) account dated January 5, 2023, and which was produced in
 12 discovery by Plaintiff and bates labeled as RHB00718.
 13        63.   Attached hereto as Exhibit “62” is a true and correct copy of a
 14 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 15 known as Twitter) account dated June 25, 2023, and which was produced in discovery
 16 by Plaintiff and bates labeled as RHB00719.
 17        64.   Attached hereto as Exhibit “63” is a true and correct copy of a
 18 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 19 known as Twitter) account dated May 10, 2023, and which was produced in discovery
 20 by Plaintiff and bates labeled as RHB00720.
 21        65.   Attached hereto as Exhibit “64” is a true and correct copy of a
 22 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 23 known as Twitter) account dated January 7, 2023, and which was produced in
 24 discovery by Plaintiff and bates labeled as RHB00721.
 25        66.   Attached hereto as Exhibit “65” is a true and correct copy of a
 26 screenshot I obtained of Defendant’s post on his publicly available X (formerly
 27 known as Twitter) account dated October 26, 2024, and which was produced in
 28 discovery by Plaintiff and bates labeled as RHB00706.
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         DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                      DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD      Document 89-2 Filed 11/04/24       Page 15 of 16 Page
                                    ID #:1380



  1         67.   Attached hereto as Exhibit “66” is a true and correct copy of a
  2 screenshot I obtained of Defendant’s publicly available X (formerly known as
  3 Twitter) account on October 30, 2024, and which was produced in discovery by
  4 Plaintiff and bates labeled as RHB00707.
  5         68.   Attached hereto as Exhibit “67” is a true and correct copy of a
  6 screenshot I obtained of the website https://enemywithindocuseries.com/ which
  7 advertises Defendant’s mini-series “The Enemy Within”, and which was produced
  8 in discovery by Plaintiff and bates labeled as RHB00708.
  9         69.   Attached hereto as Exhibit “68” is a true and correct copy of an email
 10 chain between Defendant’s counsel of record and myself, with Plaintiff’s other
 11 counsel of record copied thereon, between September 6, 2024 and September 11,
 12 2024. In this email chain, my meet and confer discussions with Defendant’s counsel
 13 of record regarding the scheduling of Defendant’s deposition and the location are set
 14 forth. This includes a detailed summary of my meet and confer conference call with
 15 Defendant’s counsel of record, Michael Murphy, on September 2, 2024, in which he
 16 offered to find a location for Defendant’s deposition to take place in Florida, USA.
 17 Then on September 11, 2024, when Defendant’s attorney of record stated any in-
 18 person deposition of Defendant would have to be in Dubai or via zoom from Dubai,
 19 which Plaintiff had an issue with because of the time it takes to travel to Dubai and,
 20 upon legal research, the legality of a deposition in Dubai and lack of legal authority
 21 authorizing a deposition to occur in Dubai for use in a District Court case in the United
 22 States. Since September 11, 2024, the scheduling of Defendant’s deposition and the
 23 location thereof has been the subject of two different Informal Discovery Conferences
 24 on September 18, 2024, and October 4, 2024. (See Docket #67, 79.) This issue was
 25 also the subject of a discovery motion that was filed on October 9, 2024, and which
 26 the Court ruled on October 30, 2024, that Defendant would be required to return to
 27 the United States for his deposition before trial and was required to inform Plaintiff’s
 28 counsel by November 4, 2024, what federal district he will choose to appear for his
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         DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                      DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
Case 2:23-cv-09430-SVW-PD           Document 89-2 Filed 11/04/24       Page 16 of 16 Page
                                         ID #:1381



  1 deposition in. (See Docket #87.) Defendant’s deposition has not yet occurred due to
  2 the foregoing discovery disputes.
  3               70.   In discovery motions in this litigation, Defendant gave wild and differing
  4 claims about why he was residing in Dubai. First, Defendant’s counsel said he was
  5 informed by an unidentified DEA agent that the Venezuelan government placed a $25
  6 million bounty on him and he did not want to return to the United States due to safety
  7 issues. (See Docket #67.) Then Defendant claimed in a declaration that he was in
  8 Ghana cooperating with an official with the Ghanian Ministry of Security who
  9 informed Defendant that criminals in West Africa were cooperating to get him in a
 10 position where he could be kidnapped. (See Docket #76.)
 11               71.   Attached hereto as Exhibit “69” is a true and correct copy of an email
 12 that Defendant’s counsel of record, Michael Murphy, sent to me on August 17, 2024.
 13               72.   Attached hereto as Exhibit “70” is a true and correct copy of an email
 14 that Defendant’s counsel of record, Michael Murphy, sent to me on September 30,
 15 2024.
 16               I declare under penalty of perjury under the laws of the United States of
 17 America that the foregoing is true and correct. Executed on this 4th day of November,
 18 2024, at Summit, New Jersey.
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 21                                                    /s/ Zachary C. Hansen
                                                               Zachary C. Hansen
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            DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
